Case 1:12-cr-00176-DHB-BKE Document 209 Filed 08/11/17 Page 1 of 7
Case 1:12-cr-00176-DHB-BKE Document 209 Filed 08/11/17 Page 2 of 7
Case 1:12-cr-00176-DHB-BKE Document 209 Filed 08/11/17 Page 3 of 7
Case 1:12-cr-00176-DHB-BKE Document 209 Filed 08/11/17 Page 4 of 7
Case 1:12-cr-00176-DHB-BKE Document 209 Filed 08/11/17 Page 5 of 7
Case 1:12-cr-00176-DHB-BKE Document 209 Filed 08/11/17 Page 6 of 7
Case 1:12-cr-00176-DHB-BKE Document 209 Filed 08/11/17 Page 7 of 7
